Case ; 3: 15-cv-00499-MMD-WGC_ Document 151 Filed poet iiey aoe
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COUNSEL/PARTIES OF RECORD
JUN 25 2018 -
No Cooy :
UNITED STATES DISTRICT COURT CLERC Us OSTROF COURT ~
BY: .
DISTRICT OF NEVADA v DEPUTY |.
|
Joskr  rciowr ; ) CASE NO. S=15-(/=04 94-Mihan nt h©
PLAINTIFF, ) :
) ;
vs. ) NOTICE OF APPEAL
J |
aan )
)
GATE OF NVA, af al, DEFENDANT. )

 

Notice is hereby given that , Josep N\ttaon , In Pro se,
Plaintiff, in the above named captioned case, hereby appeals to the United

© States Court Of Appeals for the Ninth Circuit from the final judgment in

Cae #3: S-ty- 00491 monoyye “Neb of Pp)” | __ on 6/516. *
, which was received by Plaintiff on Jung 14 , wlé.. a
Plaintiff respectfully request on this |4 day of ne ,

olf , that this Honorable Court enter this Notice of Appeal, by Rules of

jp ——

the Court.

 

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Case 3:15-cv-00499-MMD-WGC Document 151 Filed 06/25/18 Page 2 of 5

BASED ON YOUR PRESENT KNOWLEDGE:

1.

Does this appeal involve a’question of first
Impression? _~% Yes No

 

Will the determination of this appeal turn on the
interpretation or applicatioyf of a particular case
or statute? _f Yes No

If yes, provide:

 

7)
Case name/statute 4

 

Citation:

 

Docket number, if unreported:

 

Is there any case now pending or about to be
filed in this court or any other court or
administrative agency which:

a) Arises from substantially the same case
or controversy as thiS appeal?
Yes No

b) Involves an issue heat is substantially
the same, similar og to an issue
No

 

in this appeal?
Yes

 

 

Case name:

 

 

Citation:

 

Court or agency:
Docket number, if unreported:

 

Will this appeal involve a conflict of law within the
Ninth Circuit?
LA Wo

—_ _. Yes WV No

Among circuits? ____ Yes
If yes, explain briefly:

 

 

 

 

DOES THIS APPEAL INVOLVE ANY OF THE FOLLOWING:
— Possibility of settlement;

Likelihood of a motion to expedite the appeal:

Multipie parties on either side for whom join
briefing is possible;

Likelihood of motions to intervene on appeal:
Likelihood of motions to file amicus briefs;
Likelihood of motions to stay appeal pending

resolution of a related case. Identify case name,
docket number and court or agency:

 

 

 

_/ Other procedural comp!

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COUNSEL FOR APPELLANT(S);
NAME: Mu Gl

 

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TELEPHONE: ( )

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UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

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R APPEALED

 

{ pfevera. QUESTION
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[ ] OTHER SPECIFY

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BRIEF DESCRIPT!

  

 

ISSUE: TO

 

( FINAL DECISION OF
ISTRICT COURT

( )INTERLOCUTORY
DECISION APPEALABLE
AS OF RIGHT

[ ) INTERLOCUTORY ORDER
CERTIFIED BY DISTRICT
JUDGE (SPECIFY)

[ J OTHER (SPECIFY)

VON OF NATURE OF ACTION ANO RESULT

 

 

 

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{ ) AFTER TRIAL

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[ ) OTHER (SPECIFY)

 

 

( ] PRELIMINARY OR
{| ) PERMANENT
( ) GRANTED OR

     

 

 
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1 CERTIFICATE OF SERVICE
2 I,. » hereby certify that I am the
8]| petitioner in this matter and I am representing myself in propria persona.
4 On this (4 day of Siar , Lols » I served copies
5 || of the None Be Eipn!
6 ,
7 || in case number: 315-4V-Q) Y4G-V)- Wee and placed said motion(s) in
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14 mo P hal 650 Cc UNDER PENALTY OF PERJU
ter Meth ECLARATION TY O RJIURY
15] undersigned declares under penalty of perjury that he id, the
16 petitioner in the above-entitled action, and he, the defendant has read

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3

the above CERTIFICATE OF SERVICE and that the information contained

therein is true and correct. 28 U.S.C. §1746, 18 U.S.C. §1621.

Executed at Lg Desc Chole Ortion
on this A day of Sw 20%.

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PETITIONER -- In Proper Person

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Case 3:15-cv-00499-MMD-WGC Document 151 Filed 06/25/18 Page5of5

 

 

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CERTIFICATION (19. & 20.)

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| L_) OPENING STATEMENT (Defendant) __
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